             Case 1:20-cv-00080-JMC Document 73 Filed 08/20/20 Page 1 of 2

                                                                                               FILED

                 UNITED STATES DISTRICT COURT
                 FOR THE DISTRICT OF WYOMING
                                                                                            2:53 pm, 8/20/20

                                                                                          Margaret Botkins
                                                                                           Clerk of Court

The Trial Lawyers College
                                          Plaintiff,
vs.                                                    Case Number: 20-CV-00080-JMC
Gerry Spences Trial Lawyers College at
Thunderhead Ranch et al
                                        Defendant.
                        CIVIL MINUTE SHEET - MOTION HEARING
Date: Aug 20, 2020              Time:8:59am-10:09am; 10:22am-12:10pm; 1:14pm-2:17pm

      Mark L. Carman              Becky Harris             Megan Strawn      Katherine Wenner
          Judge                      Clerk                   Reporter           Law Clerk

                                   Christopher Ralston, Lindsay Calhoun and Zara Mason by video,
Attorney(s) for Plaintiff(s)
                                   Patrick Murphy in person
Attorney(s) for Defendant(s)       Timothy Getzoff by video, Jeffrey Pope in person

Witness(es) for Plaintiff(s)       Maren Chaloupka, James R. Clary, Jr.

Witness(es) for Defendant(s) Daniel Ambrose, Joseph Low, Rex Parris
  Pltf/Dft     Doc #                    Motion to/for                       Disposition
Plaintiff       51     Motion for Contempt

      Briefs to be filed on or before                      by
                                                           by
      Order to be prepared by      Court          Attorney
Other:
Hearing held via VTC.

The parties have reached a stipulation as to the authenticity and admissibility of all of the
attachments to the pleadings regarding this motion. All the exhibits that were attached to the
pleadings in this case will be considered as admitted exhibits so they will be considered by the
court pursuant to the stipulation of the parties.




WY15                                                                                   Rev. 06/17/2020
            Case 1:20-cv-00080-JMC Document 73 Filed 08/20/20 Page 2 of 2
Civil Motion Minute Sheet
20-CV-00080-JMC



Plaintiff calls Maren Chaloupka (9:13am-10:09am)
  Exhibit(s): 52-1, 53-5, 53-2, 72-1-B, 72-1-C, 72-1-D

Defendants call Daniel Ambrose (10:23am-10:40am)
 Exhibit(s): 72-1-C

Plaintiff calls James R. Clary, Jr. (10:42am-11:32am)
  Exhibit(s): 52-1, 53-5, 53-2, 53-1, 53-3, 53-4, 72-1-B

Defendants call Joseph Low (11:38am-12:09pm and 1:15pm-1:23pm)
 Exhibit(s): 57-2

Defendants call Rex Parris (1:25pm-1:57pm)
 Exhibit(s): 72-1, 53-2, 53-3, 53-4

1:57 pm Closing arguments by Mr. Ralston for the Plaintiff

2:03 pm Closing arguments by Mr. Getzoff for the Defendants

2:11 pm Rebuttal by Mr. Ralston for the Plaintiff

This Court will prepare a Report and Recommendations for Judge Carson.




                                             Page 2 of 2
